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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

JANETTE HURT, et al.,                            )
                                                 )
            Plaintiffs,                          )
                                                 )
      vs.                                        )          Case No. 1:24-cv-00168-MTS
                                                 )
ELENA MURTAUGH,                                  )
                                                 )
            Defendant.                           )

                                    ORDER OF REMAND

       On November 15, 2024, this Court issued an Order, Doc. [16], instructing Defendant

to file an amended Notice of Removal establishing this Court’s subject matter jurisdiction

under 28 U.S.C. § 1332(a)(1). The Court explained that, although Defendant’s original Notice

alleged the diversity of Plaintiff’s citizenship at the time of removal, the Notice lacked

sufficient allegations regarding Plaintiff’s citizenship at the time when the suit was initiated in

state court. Thus, Defendant’s Notice was “defective because it fail[ed] to specify [Plaintiff’s]

‘citizenship when the suit was commenced.’” Reece v. Bank of N.Y. Mellon, 760 F.3d 771,

777 (8th Cir. 2014) (quoting Pheonix Ins. Co. v. Pechner, 95 U.S. 183, 186 (1877)). “This is

not a mere technicality: [the Court has] an independent obligation to ensure the party asking

[the Court] to exercise jurisdiction has proved [the Court has] jurisdiction to exercise.” Id.

(citing Chavez–Lavagnino v. Motivation Educ. Training, Inc., 714 F.3d 1055, 1057 (8th Cir.

2013)).

       As such, the Court instructed Defendant to file an amended Notice “no later than

Monday, November 25, 2024.” Doc. [16]. The Court warned that “failure to do so will result

in remand.” Id. (citing 28 U.S.C. § 1447(c)) (“If at any time before final judgment it appears

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that the district court lacks subject matter jurisdiction, the case shall be remanded.”).

Defendant has failed to comply with that deadline.

       Accordingly,

       IT IS HEREBY ORDERED that this action is REMANDED to the Circuit Court of

Cape Girardeau County, 32nd Judicial Circuit Court of Missouri. See 28 U.S.C. § 1447(c).

The Clerk is directed to send a certified copy of this Order of Remand via mail to the Clerk of

Cape Girardeau County Circuit Court. Id.

       Dated this 3rd day of December 2024.




                                           MATTHEW T. SCHELP
                                           UNITED STATES DISTRICT JUDGE




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